
983 So.2d 1288 (2008)
Yvonne BALDINI
v.
EAST JEFFERSON GENERAL HOSPITAL, Dr. Donald Adams &amp; Dr. John Gordon.
No. 2008-C-0393.
Supreme Court of Louisiana.
June 27, 2008.
*1289 In re Baldini, Yvonne;Plaintiff; Applying for Writ of Certiorari and/or Review, Parish of Jefferson, 24th Judicial District Court Div. E, No. 630-616; to the Court of Appeal, Fifth Circuit, No. 07-CA-489.
Denied.
CALOGERO, C.J., would grant.
JOHNSON, J., would grant.
